     Case 3:23-cv-04639-TKW-ZCB Document 24 Filed 04/07/23 Page 1 of 2


                                                                         Page 1 of 2

                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

TRAVIS LAMONE BENJAMIN
    Plaintiff,
v.                                          Case No. 3:23-cv-4639/TKW/ZCB

WAYNE DALTON SALES CENTER
   Defendant.
_________________________________/



                                    ORDER

      This case is before the Court based on the magistrate judge’s Report and

Recommendation (Doc. 19). No objections were filed.

      Upon due consideration of the Report and Recommendation and the case file,

the Court agrees with the magistrate judge’s determination that Plaintiff’s motion

for preliminary injunction and motion for summary judgment are due to be denied.

Accordingly, it is ORDERED that:

      1.    The magistrate judge=s Report and Recommendation is adopted and

incorporated by reference in this Order.

      2.    Plaintiff’s motion for preliminary injunction (Doc. 9) is DENIED.

      3.    Plaintiff’s motion for summary judgment (Doc. 13) is DENIED.

      4.    This case is returned to the magistrate judge for further proceedings.
     Case 3:23-cv-04639-TKW-ZCB Document 24 Filed 04/07/23 Page 2 of 2


                                                                 Page 2 of 2

      DONE and ORDERED this 7th day of April, 2023.




                                  __________________________________
                                  T. KENT WETHERELL, II
                                  UNITED STATES DISTRICT JUDGE




Case No.: 3:23cv4639/TKW/ZCB
